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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                            JUN   1   9 2017
                                                                      for the
                                                                                                                  CLER4IISTRIC             CLLF(
                                                         Western District of Texas                               WEsTEç.(fl.
                                                                                                                                         C TF

                  United States of America                               )                                                               UEPUTY
                               V.                                        )


                     Miguel Hernandez                                    )      CaseNo.




                          Defendant(s)


                                                    CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best         of my knowledge and belief
On or about the date(s) of                       June 6, 2017                   in the county of           El Paso                      in the
     Western           District of               Texas            ,   the defendant(s) violated:

            Code Section                                                           Offense Description
Title 18, USC, Section 922(g)(1)                   Possession of firearm by prohibited person; convicted felon




         This criminal complaint is based on these facts:

See Attached Affidavit which         is hereby incorporated by reference




             Continued on the attached sheet.



                                                                                                   Complainant's signature

                                                                                          Michael Lane, Special Agent, ATE
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                     Judge 's signature

City and state:                          El   Paso, Texas                            Robert F. Castaneda, U.S. Magistrate Judge
                                                                                                   Printed name and title
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                                          AFFIDAVIT


Your affiant, Michael Lane, first being duly sworn, does hereby depose and state as follows:


       That I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives
       (ATF) and have been so employed since March 2016. I have received specialized training
       regarding the investigation and enforcement of Federal Firearms violations and have
       conducted investigations regarding individuals involved in illegal firearms activities. That
       I make this statement based on my own investigation, records review, interviews with the
       suspect, and information provided by other law enforcement officers to your affiant.
       Because this affidavit is submitted for the limited purpose of securing an arrest warrant, it
       does not purport to contain everything known to your affiant about this investigation

   2. Your affiant recently received information from Drug Enforcement Administration
       (DEA) Special Agent (SA) Terrance Moore advising that Miguel HERNANDEZ, a
       convicted felon, was in possession of two firearms and assorted ammunition when SA
       Moore executed a search warrant at HERNANDEZ's residence. This investigation
       relates to violations of Title 18, United States Code, Section 922(g)(1), knowingly
       possessing a firearm while being a convicted felon.

    3. Your affiant knows SA Moore to be a DEA SA and has worked with SA Moore on more
       than one occasion while as an undercover narcotics detective with the El Paso Police
       Department, and as a SA employed by ATF. Further, SA Moore has been a DEA Special
       Agent since February 2010. As an agent with the DEA, SA Moore attended 20 weeks of
       training at the DEA Academy in Quantico, Virginia, where SA Moore became familiar
       with how controlled substances are consumed, manufactured, packaged, marketed, and
       distributed. SA Moore is currently assigned to investigate illicit drug trafficking
       organizations operating in and around El Paso, Texas.

    4. On June 16, 2017, DEA El Paso Agents executed a Federal Search warrant at 11780 Flor
       Del So!, Socorro, Texas, 79927, Western District of Texas, residence of Miguel
       HERNANDEZ. At approximately 7:45 a.m., Agents observed a Hispanic Male wearing
       black t-shirt and black jean, later identified as Miguel HERINANDEZ, opening the
       driveway gate entrance. Agents approached HERNANDEZ and advised him of the
       search warrant. HERNANDEZ was asked if he had any drugs or firearms inside the
       house. Initially HERNANDEZ denied any drugs or firearms inside the house but later
       stated that he had a gun inside of dirty clothes hamper. HERINANDEZ stated that he puts
       inside the hamper to hide it from his kids.

    5. At approximately 7:52 a.m., Agents began searching the house. Agents found a black
       magazine with ammunition inside the entertainment center drawer. Agents discovered a
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       loaded High Standard M-191 1 ATFS serial number HS1279595 pistol inside a clothes
       hamper in the laundry room area. Agents found a Colt .45 Serial # 11998-NM pistol
       inside the clothes hamper located in the master's bathroom. Agents found a magazine
       with ammunition and a box of ammunition containing four rounds in a nightstand in the
       master bedroom.

  6. After the search, Agents interviewed HERNANDEZ's wife, Sonia Torres Gurrola about
     the guns. She stated that the guns and ammunitions belonged to her husband because she
     did not know the weapons were inside the house. Agents also interviewed Miguel
     HERNANDEZ Jr, who stated that the guns belonged to his father. HERNANDEZ Jr. was
     sitting next to his mother in the house when agents asked about the ownership of the
       firearms.

  7. HERNANDEZ was transported to an El Paso County          Sheriffs Office substation to be
       interview. HERNANDEZ was Mirandized and agreed to talk to agents without an
       attorney present. HERNANDEZ claimed ownership of the firearms and ammunition. He
       stated he purchased the firearms from his nephew who resides in Dallas, Texas.

  8. Your affiant is also aware that Miguel HERNANDEZ is a convicted felon, convicted        of
       Possession of Marijuana with a gross aggregate weight equal to or less than 50 pounds,
       and greater than five pounds, a 3rd Degree Felony. HERNANDEZ was convicted on
       March 3, 2009 in Criminal District Court #1, cause number 20080D03232; State of Texas
       v. Hernandez, Miguel.

  9.   Your affiant spoke to ATF Firearms Nexus Expert, SA Michael Kushner who advised the
       Colt .45 Serial # 11998-NM pistol was not manufactured in the State of Texas, thus
       effecting interstate commerce.

  10. That in light of the above, your affiant submits that probable cause exists to arrest Miguel
      HERNANDEZ for violation of Title 18, United States Code, Section 922(g)(1).
FURTHER YOUR AFFIANT SAYETH NAUGHT.
